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              UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
                     AUSTIN DIVISION


 Leila Green Little, et al.,

                        Plaintiffs,
                                                Case No. 1:22-cv-00424-RP
 v.

 Llano County, et al.,

                        Defendants.


                            DEFENDANTS’ ANSWER
      1.   The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 1 of the complaint.
      2.   The defendants deny the allegations of paragraph 2 of the complaint.
      3.   The defendants deny the allegations of paragraph 3 of the complaint.
      4.   The defendants deny the allegations of paragraph 4 of the complaint.
      5.   The defendants deny the allegations of paragraph 5 of the complaint.
      6.   The defendants deny the allegations of paragraph 6 of the complaint.
      7.   The defendants deny the allegations of paragraph 7 of the complaint.

                         JURISDICTION AND VENUE
      8.   The defendants admit the allegations of paragraph 8 of the complaint.
      9.   The defendants deny the allegations of paragraph 9 of the complaint. The
Declaratory Judgment Act does not confer subject-matter jurisdiction on a federal
district court, and it does not in any way expand the subject-matter jurisdiction of the
federal judiciary. See Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671–72
(1950); Franchise Tax Board v. Construction Laborers Vacation Trust, 463 U.S. 1, 10
(1983).
      10. The defendants admit the allegations of paragraph 10 of the complaint.


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                                 THE PARTIES
    11. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 11 of the complaint.
    12. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 12 of the complaint.
    13. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 13 of the complaint.
    14. The defendants lack sufficient knowledge or information to determine the

truth of the allegations of paragraph 14 of the complaint.
    15. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 15 of the complaint.
    16. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 16 of the complaint.
    17. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 17 of the complaint.
    18. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 18 of the complaint.
    19. The defendants admit the identity of the defendants but deny the remaining
allegations of paragraph 19 of the complaint.
    20. The defendants deny that defendant Ron Cunningham is a “final policy-
maker.” The defendants admit the remaining allegations of paragraph 20 of the com-
plaint.
    21. The defendants deny that defendants Jerry Don Moss, Peter Jones, Mike
Sandoval, and Linda Raschke are “final policymakers.” The defendants admit the re-
maining allegations of paragraph 21 of the complaint.
    22. The defendants deny the allegations of paragraph 22 of the complaint.




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    23. The defendants deny that defendant Amber Milum is a “final policymaker.”
The defendants admit the remaining allegations of paragraph 23 of the complaint.
    24. The defendants deny that the Llano County Library Board “was created by
the Commissioners Court to create and effectuate County policy.” The defendants
admit the remaining allegations of paragraph 24 of the complaint.
    25. The defendants deny the allegations of paragraph 25 of the complaint.
    26. The defendants deny the allegations of paragraph 26 of the complaint.

                          FACTUAL BACKGROUND
    27. The defendants deny the allegations of paragraph 27 of the complaint.
    28. The defendants admit the allegations of paragraph 28 of the complaint.
    29. The defendants lack sufficient knowledge or information to determine
whether OverDrive “was widely and heavily used by the Llano community, particu-
larly by elderly patrons who struggle to read books in print and listen to audiobooks
instead, as well as by patrons with physical disabilities that make accessing a physical
library location difficult.” The defendants admit the remaining allegations of para-
graph 29 of the complaint.
    30. The defendants lack sufficient knowledge or information to determine the
truth of the allegations of paragraph 30 of the complaint
    31. The defendants admit the allegations of paragraph 31 of the complaint.
    32. The defendants admit the allegations of paragraph 32 of the complaint.
    33. The defendants deny the allegations of paragraph 33 of the complaint.
    34. The defendants deny the allegations of paragraph 34 of the complaint.
    35. The defendants admit the allegations of paragraph 35 of the complaint.
    36. The defendants deny the allegations of paragraph 36 of the complaint.
    37. The defendants deny the allegations of paragraph 37 of the complaint.

    38. The defendants deny the allegations of paragraph 38 of the complaint.




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   39. The defendants deny the allegations of paragraph 39 of the complaint.
   40. The defendants deny the allegations of paragraph 40 of the complaint.
   41. The defendants deny the allegations of paragraph 41 of the complaint.
   42. The defendants deny the allegations of paragraph 42 of the complaint.
   43. The defendants deny the allegations of paragraph 43 of the complaint.
   44. The defendants deny the allegations of paragraph 44 of the complaint.
   45. The defendants deny the allegations of paragraph 45 of the complaint.
   46. The defendants deny the allegations of paragraph 46 of the complaint.
   47. The defendants deny the allegations of paragraph 47 of the complaint.
   48. The defendants deny the allegations of paragraph 48 of the complaint.
   49. The defendants deny the allegations of paragraph 49 of the complaint.
   50. The defendants deny the allegations of paragraph 50 of the complaint.
   51. The defendants deny the allegations of paragraph 51 of the complaint.
   52. The defendants deny the allegations of paragraph 52 of the complaint.
   53. The defendants deny the allegations of paragraph 53 of the complaint.
   54. The defendants deny the allegations of paragraph 54 of the complaint.

   55. The defendants deny the allegations of paragraph 55 of the complaint.
   56. The defendants deny the allegations of paragraph 56 of the complaint.

   57. The defendants deny the allegations of paragraph 57 of the complaint.
   58. The defendants deny the allegations of paragraph 58 of the complaint.
   59. The defendants deny the allegations of paragraph 59 of the complaint.
   60. The defendants deny the allegations of paragraph 60 of the complaint.
   61. The defendants deny the allegations of paragraph 61 of the complaint.
   62. The defendants deny the allegations of paragraph 62 of the complaint.
   63. The defendants deny the allegations of paragraph 63 of the complaint.
   64. The defendants deny the allegations of paragraph 64 of the complaint.
   65. The defendants deny the allegations of paragraph 65 of the complaint.


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    66. The defendants deny the allegations of paragraph 66 of the complaint.
    67. The defendants deny the allegations of paragraph 67 of the complaint.
    68. The defendants lack sufficient knowledge or information to determine the
truth of the allegations in the allegations of paragraph 68 of the complaint.
    69. The defendants lack sufficient knowledge or information to determine the
truth of the allegations in the allegations of paragraph 69 of the complaint.
    70. The defendants lack sufficient knowledge or information to determine the
truth of the allegations in the allegations of paragraph 70 of the complaint.
    71. The defendants lack sufficient knowledge or information to determine the
truth of the allegations in the allegations of paragraph 71 of the complaint.
    72. The defendants deny the allegations of paragraph 72 of the complaint.
    73. The defendants deny the allegations of paragraph 73 of the complaint.
    74. The defendants deny the allegations of paragraph 74 of the complaint.
    75. The defendants deny the allegations of paragraph 75 of the complaint.
    76. The defendants deny the allegations of paragraph 76 of the complaint.
    77. The defendants deny the allegations of paragraph 77 of the complaint.

    78. The defendants deny the allegations of paragraph 78 of the complaint.
    79. The defendants deny the allegations of paragraph 79 of the complaint.

    80. The defendants deny the allegations of paragraph 80 of the complaint.
    81. The defendants deny the allegations of paragraph 81 of the complaint.
    82. The defendants deny the allegations of paragraph 82 of the complaint.
    83. The defendants deny the allegations of paragraph 83 of the complaint.
    84. The defendants deny the allegations of paragraph 84 of the complaint.
    85. The defendants deny the allegations of paragraph 85 of the complaint.
    86. The defendants admit the allegations of paragraph 86 of the complaint.
    87. The defendants deny the allegations of paragraph 87 of the complaint.
    88. The defendants deny the allegations of paragraph 88 of the complaint.


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   89. The defendants deny the allegations of paragraph 89 of the complaint.
   90. The defendants deny the allegations of paragraph 90 of the complaint.
   91. The defendants deny the allegations of paragraph 91 of the complaint.
   92. The defendants deny the allegations of paragraph 92 of the complaint.
   93. The defendants deny the allegations of paragraph 93 of the complaint.
   94. The defendants deny the allegations of paragraph 94 of the complaint.
   95. The defendants deny the allegations of paragraph 95 of the complaint.
   96. The defendants deny the allegations of paragraph 96 of the complaint.
   97. The defendants deny the allegations of paragraph 97 of the complaint.
   98. The defendants deny the allegations of paragraph 98 of the complaint.
   99. The defendants deny the allegations of paragraph 99 of the complaint.
   100. The defendants deny the allegations of paragraph 100 of the complaint.
   101. The defendants deny the allegations of paragraph 101 of the complaint.
   102. The defendants deny the allegations of paragraph 102 of the complaint.
   103. The defendants deny the allegations of paragraph 103 of the complaint.
   104. The defendants deny the allegations of paragraph 104 of the complaint.

   105. The defendants deny the allegations of paragraph 105 of the complaint.
   106. The defendants deny the allegations of paragraph 106 of the complaint.

   107. The defendants deny the allegations of paragraph 107 of the complaint.
   108. The defendants deny the allegations of paragraph 108 of the complaint.
   109. The defendants deny the allegations of paragraph 109 of the complaint.
   110. The defendants deny the allegations of paragraph 110 of the complaint.
   111. The defendants deny the allegations of paragraph 111 of the complaint.
   112. The defendants deny the allegations of paragraph 112 of the complaint.
   113. The defendants deny the allegations of paragraph 113 of the complaint.
   114. The defendants deny the allegations of paragraph 114 of the complaint.
   115. The defendants deny the allegations of paragraph 115 of the complaint.


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    116. The defendants deny the allegations of paragraph 116 of the complaint.
    117. The defendants deny the allegations of paragraph 117 of the complaint.
    118. The defendants deny the allegations of paragraph 118 of the complaint.
    119. The defendants deny the allegations of paragraph 119 of the complaint.
    120. The defendants deny the allegations of paragraph 120 of the complaint.
    121. The defendants deny the allegations of paragraph 121 of the complaint.
    122. The defendants deny the allegations of paragraph 122 of the complaint.
    123. The defendants deny the allegations of paragraph 123 of the complaint.
    124. The defendants deny the allegations of paragraph 124 of the complaint.
    125. The defendants deny the allegations of paragraph 125 of the complaint.
    126. The defendants deny the allegations of paragraph 126 of the complaint.
    127. The defendants deny the allegations of paragraph 127 of the complaint.
    128. The defendants deny the allegations of paragraph 128 of the complaint.
    129. The defendants lack sufficient knowledge or information to determine the
truth of the allegations in the allegations of the allegations of paragraph 129 of the
complaint.

    130. The defendants admit the allegations of paragraph 130 of the complaint.
    131. The defendants deny the allegations of paragraph 131 of the complaint.

    132. The defendants deny the allegations of paragraph 132 of the complaint.
    133. The defendants admit the allegations of paragraph 133 of the complaint.
    134. The defendants admit the allegations of paragraph 134 of the complaint.
    135. The defendants deny the allegations of paragraph 135 of the complaint.
    136. The defendants deny the allegations of paragraph 136 of the complaint.
    137. The defendants deny the allegations of paragraph 137 of the complaint.




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                           CLAIMS FOR RELIEF
    138. The defendants need not admit or deny a paragraph that incorporates pre-
vious paragraphs.
    139. The defendants deny the allegations of paragraph 139 of the complaint.
    140. The defendants deny the allegations of paragraph 140 of the complaint.
    141. The defendants deny the allegations of paragraph 141 of the complaint.
    142. The defendants deny the allegations of paragraph 142 of the complaint.
    143. The defendants deny the allegations of paragraph 143 of the complaint.

    144. The defendants deny the allegations of paragraph 144 of the complaint.
    145. The defendants deny the allegations of paragraph 145 of the complaint.
    146. The defendants deny the allegations of paragraph 146 of the complaint.
    147. The defendants deny the allegations of paragraph 147 of the complaint.
    148. The defendants deny the allegations of paragraph 148 of the complaint.
    149. The defendants need not admit or deny a paragraph that incorporates pre-
vious paragraphs.
    150. The defendants deny the allegations of paragraph 150 of the complaint.
    151. The defendants deny the allegations of paragraph 151 of the complaint.
    152. The defendants deny the allegations of paragraph 152 of the complaint.
    153. The defendants deny the allegations of paragraph 153 of the complaint.
    154. The defendants deny the allegations of paragraph 154 of the complaint.
    155. The defendants deny the allegations of paragraph 155 of the complaint.
    156. The defendants deny the allegations of paragraph 156 of the complaint.
    157. The defendants deny the allegations of paragraph 157 of the complaint.
    158. The defendants deny the allegations of paragraph 158 of the complaint.

                                  DEFENSES
   1.   The complaint fails to state a claim on which relief may be granted.




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   2.    The defendants reserve the right to assert additional defenses during the pen-
dency of this action.

                                             Respectfully submitted.

                                              /s/ Jonathan F. Mitchell
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 Dated: May 26, 2025                         Counsel for Defendants




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                         CERTIFICATE OF SERVICE
    I certify that on May 26, 2025, I served this document through CM/ECF upon:

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